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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                  :
    UNITED STATES OF AMERICA,                                     :
                                                                  :
                    -against-                                     :
                                                                  :           09cr581
    PAUL M. DAUGERDAS,                                            :
                                                                  :           MEMORANDUM & ORDER
                              Defendant.                          :


WILLIAM H. PAULEY III, Senior United States District Judge:

                   Pro se Defendant Paul M. Daugerdas petitions this Court for a writ of audita

querela vacating the forfeiture and restitution orders entered following his convictions for

conspiracy to defraud the United States and other crimes related to a fraudulent tax shelter

scheme. Specifically, Daugerdas contends that his forfeiture and restitution obligations are

unenforceable in view of recent Supreme Court precedent that applies retroactively to this

criminal action. (See Pet. for Writ of Audita Querela, ECF No. 933 (“Petition”), at 1.) For the

following reasons, the Petition is denied.

                                                   BACKGROUND

                   On July 1, 2013, the Government filed a sixth Superseding Indictment charging

Daugerdas with running a fraudulent tax shelter scheme from approximately 1994 until 2004.

(See generally ECF No. 644 (“S6 Indictment”).) The S6 Indictment contained forfeiture

allegations pursuant to 18 U.S.C. § 1981(a)(1)(C) 1 and 18 U.S.C. § 1982(a)(2)(A), seeking

forfeiture of any proceeds obtained from the conspiracy and mail fraud offenses. (S6 Indictment

¶¶ 108–108(a).) On October 31, 2013, following an eight-week trial, a jury in this District


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          Section 1981(a)(1)(C) governs civil forfeiture. However, “pursuant to 28 U.S.C. § 2461(c), any property
that is subject to civil forfeiture as a result of a violation of federal law may also be subject to forfeiture in a federal
criminal proceeding.” United States v. Daugerdas, 892 F.3d 545, 548 n.2 (2d Cir. 2018).

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convicted Daugerdas of seven counts in the S6 Indictment, including: one count of conspiracy to

defraud the United States, in violation of 18 U.S.C. § 371; four counts of client tax evasion, in

violation of 26 U.S.C. § 7201; one count of obstructing the Internal Revenue Service (“IRS”), in

violation of 26 U.S.C. § 7212(a); and one count of mail fraud, in violation of 18 U.S.C. § 1341.

(ECF No. 775, at 7807–14; see ECF No. 838 (“Judgment”), at 1–2.) On June 24, 2014, this

Court sentenced Daugerdas principally to 180 months of imprisonment and imposed

$371,006,397 in restitution. (Judgment, at 3, 6–7). Additionally, this Court entered a

Preliminary Order of Forfeiture (“Forfeiture Order”) against Daugerdas in the amount of

$164,737,500. 2 (ECF No. 836.)

                  Daugerdas appealed his conviction and sentence, including the Forfeiture Order.

(ECF No. 841.) With respect to the Forfeiture Order, Daugerdas argued that the Government

failed to establish the requisite “nexus” between his criminal conduct and certain property sought

within the Order. United States v. Daugerdas, 837 F.3d 212, 231 (2d Cir. 2016). The Second

Circuit rejected that argument—along with Daugerdas’s remaining arguments—and affirmed his

conviction and sentence on September 21, 2016. (ECF No. 896.) Daugerdas then petitioned the

Supreme Court for a writ of certiorari, which was denied on October 2, 2017. Daugerdas v.

United States, 837 F.3d 212 (2d Cir. 2016), cert. denied, 138 S. Ct. 62 (2017). This Petition

followed, as did a separate habeas proceeding pursuant to 28 U.S.C. § 2255. 3




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          On the Government’s unopposed motion, this Court amended the Forfeiture Order on August 6, 2018 and
again on October 24, 2018 to correct the descriptions of certain assets listed therein. (See generally ECF Nos. 938,
961.) In reviewing this matter, this Court noticed that those amendments erroneously changed the amount of the
forfeiture from $164,737,500 to $180,000,000. The Government is directed to submit a further amended Forfeiture
Order or explain the reason for the discrepancy.
3
       This Court denied Daugerdas’s habeas petition in a Memorandum & Order issued on February 16, 2021.
See Daugerdas v. United States, 2021 WL 603068, at *9 (S.D.N.Y. Feb 16, 2021); ECF No. 1051, at 18.

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                 Daugerdas presents three grounds for audita querela relief. First, he claims that

the Forfeiture Order is unlawful because it imposes joint and several liability in violation of

Honeycutt v. United States, 137 S. Ct. 1626 (2017). Second, Daugerdas contends that the

conspiracy and mail fraud offenses cannot serve as predicates for the forfeiture obligation

because neither offense was adequately charged or proven by the Government. Finally—and

relatedly—Daugerdas argues that “the charges alleged in the indictment which [gave] rise to all of

the restitution and virtually all of the forfeiture, were the subject of an acquittal by the jury,” and

therefore the continued imposition of his forfeiture and restitution obligations violates Nelson v.

Colorado, 137 S. Ct. 1249 (2017). (Suppl. Reply in Supp. Pet. for Writ of Audita Querela, ECF No.

977, at 4; see Petition, at 14.)

                                              DISCUSSION

                 The writ of audita querela is an “ancient” common law writ, Triestman v. United

States, 124 F.3d 361, 380 n.24 (2d Cir. 1997), “of a most remedial nature, and invented lest in

any case there should be an oppressive defect of justice, where a party who has a good [defense]

is too late in making it in the ordinary forms of law,” Humphreys v. Leggett, 50 U.S. 297, 313

(1850). While Fed. R. Civ. P. 60(e) expressly abolished audita querela in civil cases, the writ

“remains available in limited circumstances with respect to criminal convictions,” United States

v. Richter, 510 F.3d 103, 104 (2d Cir. 2007) (per curiam). However, “few courts ever have

agreed as to what circumstances would justify [that] relief.” Klapprott v. United States, 335 U.S.

601, 614 (1949) (Black, J.) (plurality opinion).

                 In the Second Circuit, the writ of audita querela “is probably available where

there is a legal, as contrasted with an equitable, objection to a conviction that has arisen

subsequent to the conviction and that is not redressable pursuant to another post-conviction

remedy.” United States v. LaPlante, 57 F.3d 252, 253 (2d Cir. 1995); see also United States v.
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Valdez-Pacheco, 237 F.3d 1077, 1079 (9th Cir. 2001) (per curiam) (noting that the writ of audita

querela “survive[s] only to the extent that [it] fill[s] ‘gaps’ in the current systems of

postconviction relief”). Indeed, the writ “might be deemed available if [its] existence [was]

necessary to avoid serious questions as to the constitutional validity of both § 2255 and § 2244.”

Triestman, 124 F.3d at 380 n.24. “In other words, if the absence of any avenue of collateral

attack would raise serious constitutional questions about the laws limiting those avenues, then a

writ of audita querela would lie.” Richter, 510 F.3d at 104.

               In this Circuit, a defendant cannot challenge noncustodial components of his

sentence in a § 2255 habeas petition. Kaminski v. United States, 339 F.3d 84, 88–89 (2d Cir.

2003); see also, e.g., Lasher v. United States, 2018 WL 3979596, at *9 (S.D.N.Y. Aug. 20,

2018); Pinhasov v. United States, 2018 WL 550611, at *3 (S.D.N.Y. Jan. 22, 2018).

Accordingly, Daugerdas avers that the writ of audita querela is the only way to obtain relief from

his allegedly unlawful forfeiture and restitution obligations. (See Petition, at 2.)

I.     Daugerdas’s Honeycutt Claim

               To begin, Daugerdas claims that the Forfeiture Order violates the Supreme

Court’s decision in Honeycutt v. United States, 137 S. Ct. 1626 (2017). There, the Supreme

Court held that under 21 U.S.C. § 853(a)(1)—the criminal forfeiture statute governing certain

drug offenses—a defendant may not “be held jointly and severally liable for property that his co-

conspirator derived from the crime but that the defendant himself did not acquire.” Honeycutt,

137 S. Ct. at 1630. Here, Daugerdas contends that the Forfeiture Order does precisely what

Honeycutt prohibits—it imposes joint and several forfeiture liability on Daugerdas for criminal

proceeds that he did not personally obtain. And although Honeycutt “post-dates [his] trial and

direct appeal” to the Second Circuit, Daugerdas insists that the decision is a “substantive change



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in decisional law” that is “fully retroactive on collateral review,” (Petition, at 4 (citing Schriro v.

Summerlin, 542 U.S. 348, 351 (2004) (for the proposition that “substantive decisions that narrow

the scope of a criminal statute, by interpreting its terms, apply retroactively on collateral

review”)).) Thus, Daugerdas claims this Court must vacate the Forfeiture Order. 4

                  In response to Daugerdas’s Honeycutt argument, the Government makes two

concessions. First, the Government acknowledges that while the Forfeiture Order does not use

the phrase “joint and several”: (1) the Order’s $164,737,500 money judgment represents “the

aggregate amount of unlawful proceeds—in the form of tax shelter fees—paid to Daugerdas and

his conspirators,” and (2) Daugerdas’s portion of that aggregate sum was approximately $95

million. (Government Opp’n, at 1–2.) Second, the Government agrees that “Honeycutt

announced a substantive rule that has retroactive effect” on collateral review. 5 (Government

Opp’n, at 2.) Despite these concessions, the Government maintains that Daugerdas procedurally




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          As a threshold matter, the parties appear to dispute whether audita querela relief is even available with
respect to Daugerdas’s Honeycutt claim. The Government doubts that the writ is available where—as here—the
claim attacks “only an aspect of [a] sentence and not the underlying conviction.” (ECF No. 948 (“Government
Opp’n”), at 4.) Daugerdas, on the other hand, contends that “[n]o court . . . has ever held or limited . . . audita
querela [relief] to attack[s] [on] a ‘conviction’ only.” (Reply Br. in Supp. of Pet. for Audita Querela, ECF No. 973
(“Reply”), at 5.) Notably, the Second Circuit has not squarely addressed whether the writ of audita querela is
available to challenge noncustodial components of a sentence. However, in Kaminski, Judge Calabresi suggested in
dicta that a similar ancient writ—the writ of coram nobis—might be available in that context “if the challenged error
is fundamental.” 339 F.3d at 91. In any event, this Court declines to resolve this dispute because it rejects
Daugerdas’s Honeycutt claim on other grounds.

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          This Court agrees that Honeycutt applies to this action, but it reaches that conclusion irrespective of the
decision’s retroactivity on collateral review. That is because the Supreme Court decided Honeycutt four months
before it denied Daugerdas’s petition for a writ of certiorari. See Schriro, 542 U.S. at 351 (“When a decision of this
Court results in a ‘new rule,’ that rule applies to all criminal cases still pending on direct review.”). And since
Honeycutt was decided before Daugerdas’s conviction and sentence became “final,” the decision applies to this
action regardless of whether it is retroactive on collateral review. See United States v. Becker, 502 F.3d 122, 129
(2d Cir. 2007) (observing that retroactivity is relevant “only ‘to those cases which have become final before the new
rules are announced.’” (quoting Teague v. Lane, 489 U.S. 288, 310 (1989)); Mungo v. Duncan, 393 F.3d 327, 333
n.3 (2d Cir. 2004) (“A conviction becomes final for the purposes of [retroactivity] when ‘the availability of direct
appeal . . . has been exhausted and the time for filing a petition for a writ of certiorari has elapsed or a timely filed
petition has been finally decided.’” (quoting Beard v. Banks, 524 U.S. 406, 411 (2004))).

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defaulted his Honeycutt claim by failing to challenge the joint and several nature of the

Forfeiture Order on direct appeal. (Government Opp’n, at 2–4.)

           A. Procedural Default

               The writ of audita querela is unavailable “if the petitioner could have sought

earlier relief through another mechanism such as a direct appeal.” Cummings v. United States,

2014 WL 3388559, at *2 (S.D.N.Y. July 11, 2014) (quotation marks omitted); accord Eisa v.

Immigration & Customs Enf’t, 2008 WL 4223618, at *6 (S.D.N.Y. Sept. 11, 2008) (collecting

cases); see Collins v. United States, 2000 WL 516892, at *6 (E.D.N.Y. Mar. 8, 2000) (denying

audita querela relief where petitioner “could have raised [his claim] on direct appeal” and noting

that “[p]rocedural default is not, by itself, grounds to invoke” the writ). To be sure, Daugerdas

did directly appeal the Forfeiture Order but did not challenge the Forfeiture Order’s joint and

several nature. Daugerdas, 837 F.3d at 218. That said, this Court finds that Daugerdas could

have raised the issue on direct appeal, and therefore his claim is barred.

               Indeed, the argument raised (and ultimately accepted) in Honeycutt was not “so

novel that its legal basis [was] not reasonably available to counsel” at the time of Daugerdas’s

direct appeal. Reed v. Ross, 468 U.S. 1, 16 (1984). As long as, Daugerdas “had access to the

United States Code and [a] dictionar[y]—the tools the Supreme Court used in Honeycutt—[he]

could have raised [that] claim[].” United States v. Bane, 948 F.3d 1290, 1297 (11th Cir. 2020)

(concluding that defendants were procedurally barred from advancing a Honeycutt argument in

petition for a writ of coram nobis because they could not show cause for failing to challenge joint

and several forfeiture orders on direct appeal). That point is illustrated by the fact that at least

one litigant—albeit outside this Circuit—successfully challenged a joint and several forfeiture

order during the pendency of Daugerdas’s appeal. See United States v. Cano-Flores, 796 F.3d



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83, 91 (D.C. Cir. 2015) (vacating joint and several forfeiture order pursuant to 21 U.S.C.

§ 853(a)(1)).

                  Daugerdas responds that it would have been futile to challenge the joint and

several nature of the Forfeiture Order on direct appeal. 6 He avers that the Second Circuit

permitted joint and several forfeiture liability prior to Honeycutt. See, e.g., United States v.

Benevento, 836 F.2d 129, 130 (2d Cir. 1998) (affirming imposition of joint and several forfeiture

liability under 21 USC § 853). While that may be true, Daugerdas cannot demonstrate futility

simply by claiming that the argument was “unacceptable to [a] particular court at [a] particular

time.” Bousley v United States, 523 U.S. 614, 623 (1998) (quotation marks omitted); see United

States v. Georgiou, 800 F. App’x 136, 139 n.3 (3d Cir. 2020) (“[Petitioner] argues that

challenging the joint and several nature of his forfeiture liability would have been futile because

the issue was barred by settled Third Circuit precedent at the time. However, the Supreme Court

has rejected futility as cause for failing to appeal in similar circumstances.” (citing Bousley, 523

U.S. at 623)); Bane, 948 F.3d at 1290; cf. United States v. Crews, No. 2:10-cr-663-JP, at 2 n.1

(E.D. Pa. Jan. 23, 2018) (granting writ of audita querela based on Honeycutt specifically because

“[d]efendant preserved the issue by raising it on appeal”). Because Daugerdas could have, but

did not, challenge the joint and several nature of the Forfeiture Order on direct appeal, he is

procedurally barred from doing so in this Petition.




6
          On reply, Daugerdas claims for the first time that “it was only through [his] prior attorney rendering
ineffective assistance of counsel that his ‘Honeycutt’ claim was not raised earlier.” (Reply, at 5.) This Court refuses
to chase Daugerdas’s moving target. The claim is waived. See Melo v. United States, 825 F. Supp. 2d 457, 464
(S.D.N.Y. 2011) (concluding that defendant waived ineffective assistance of counsel claim by raising it for first time
on reply).

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           B. Merits

               Even if this Court ignored Daugerdas’s procedural default, his Honeycutt claim

would fail on the merits. “The Supreme Court has not yet decided the application of Honeycutt

to other forfeiture statutes, and [some] circuit courts are currently split on the issue.” United

States v. Kenner, 443 F. Supp. 3d 354, 367 (E.D.N.Y. 2020) (collecting cases from the Third,

Fourth, Fifth, Sixth, Eighth, and Eleventh Circuits). Thus far, the Second Circuit has declined to

enter the fray. See United States v. Fiumano, 721 F. App’x 45, 51 n.3 (2d Cir. 2018) (declining

to “decide whether Honeycutt’s ruling, made with respect to a forfeiture order under 21 U.S.C.

§ 853(a)(1), applies equally in all respects to forfeiture orders under other statutes.”). Left to

their own devices, a handful of courts in this District have analyzed Honeycutt’s reach,

determining that the decision “narrowly addresse[d] the issue of whether joint and several

liability is available for forfeiture for co-conspirators in certain drug crimes under 21 U.S.C.

§ 853(a)(1).” Lasher v. United States, 2018 WL 3979596, at *10 (S.D.N.Y. Aug. 20, 2018); see

United States v. McIntosh, 2017 WL 3396429, at *6 (S.D.N.Y. Aug. 8, 2017) (noting that “the

Supreme Court meticulously avoided mention of any forfeiture statute apart from Section 853”),

appeal docketed, No. 17-2623 (Aug. 24, 2017).

               The Government did not rely on § 853(a)(1) when moving for forfeiture against

Daugerdas. Rather, the statutory bases for the Forfeiture Order are 18 U.S.C. § 981(a)(1)(C) and

18 U.S.C. § 982(a)(2)(A). (Forfeiture Order, at 1–3.) And even after Honeycutt, courts in this

District continue to permit joint and several forfeiture liability under § 981(a)(1)(C), relying on

Second Circuit authority predating the Supreme Court’s decision. See, e.g., McIntosh, 2017 WL

3396429, at *6 (“What the Supreme Court emphatically did not do in Honeycutt is overrule the

Second Circuit’s Section 981 cases, which rest on specific textual grounds distinguishable from



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Section 853.”); Lasher, 2018 WL 3979596, at *10 (“Second Circuit precedent mandates joint and

several liability under Section 981, and this precedent binds the Court unless and until the

Supreme Court or Second Circuit says otherwise.” (citing United States v. Contorinis, 692 F.3d

136, 147 (2d Cir. 2012)). 7 Since Honeycutt does not bar joint and several forfeiture liability

under § 981(a)(1)(C), this Court “remains bound by the Second Circuit’s repeated holdings that

Section 981(a)(1)(C) allows joint and several liability for criminal forfeiture.” McIntosh, 2017

WL 3396429, at *6. Accordingly, Daugerdas’s claim fails. 8

II.      Daugerdas’s Challenge to the Forfeiture Predicates

                  Daugerdas next argues that because the conspiracy and mail fraud charges were

not adequately pled and proven, they cannot serve as predicates for the forfeiture obligation.

This argument reiterates claims advanced by Daugerdas in his § 2255 petition, which this Court

rejected. See Daugerdas, 2021 WL 603068, at *9. Relevant to this argument, this Court held

that: (1) the conspiracy and mail fraud charges were timely; (2) the Government’s failure to

allege that the mail fraud affected a financial institution did not result in any prejudice against

Daugerdas; (3) the Wartime Suspension of Limitations Act (“WLSA”) relieved the Government

of the ten-year statute of limitations for the mail fraud charge; (4) the Government’s mail fraud

charge was proper because it tracked the language of the mail fraud statute; and (5) the




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         One court in this Circuit has suggested that Honeycutt applies to § 982(a)(2). See United States v.
Mirando, 2020 WL 2572327, at *3 (E.D.N.Y. May 20, 2020) (noting that “Honeycutt seems directly applicable to
Section 982(a)(2)” based on similarities between that statute and 21 U.S.C. § 853, and ordering the parties to submit
supplemental briefing on the issue). Because this Court concludes that Honeycutt does not apply to § 981(a)(1)(C),
it need not address whether it also governs § 982(a)(2).

8
         In Kenner, a district judge agreed with the Government’s position that—even if Honeycutt applies to
§ 981(a)(1)(C)—joint and several forfeiture liability would be permissible under that statute where the defendant is
the “mastermind” of the criminal offense. 443 F. Supp. 3d at 363 n.8 (citing United States v. Gioeli, 2019 WL
6173421, at *3 (E.D.N.Y. Nov. 20, 2019)). This Court expresses no view as to the soundness of that conclusion.
However, it bears noting that Daugerdas was “the mastermind of the . . . scheme” at the heart of this vast tax shelter
fraud. (Sentencing Tr., ECF No. 839, at 73.)

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 Government provided Daugerdas with a bill of particulars identifying 34 specific mailings it

 planned to prove at trial. See Daugerdas, 2021 WL 603068, at *7–*8. Accordingly, there is

 ample evidence in the record that the Government adequately pled and proved the conspiracy

 and mail fraud charges.

                As best as this Court can discern, Daugerdas contends that this Court’s jury

 instruction on the mail fraud charge was improper. Daugerdas is incorrect. The jury was

 instructed on every element of mail fraud, including the “affecting a financial institution” and

 mailing elements. (Second Trial Tr., ECF No. 771, at 7689–91.) Daugerdas also seems to argue

 that this Court did not require, nor did the Government prove, specific mailings to the jury.

 Daugerdas is again mistaken. Not only were the Court’s instructions proper, but between the

 allegations of mail fraud contained in the indictment, the bill of particulars containing 34 specific

 mailings, and the evidence presented at trial, the Government satisfied the required elements of

 mail fraud to the jury.

                Daugerdas also attempts to advance an ineffective assistance of counsel argument

 in his writ of audita querela. However, an ineffective assistance claim is not proper on a writ of

 audita querela. See United States v. Quintieri, 547 F. App’x 32, 34 (2d Cir. 2013) (“[The]

 alleged failure by Appellant’s counsel does not provide a basis for a granting of the writ of audita

 querela.”) Regardless, each of Daugerdas’s ineffective assistance of counsel claims was rejected

 by this Court in Daugerdas’s § 2255 proceeding and need not be addressed here. See Daugerdas,

 2021 WL 603068, at *4–*8.

III.    Daugerdas’s Nelson Claim

                Relying on the Supreme Court’s recent decision in Nelson v. Colorado, 137 S. Ct.

 1249 (2017), Daugerdas asserts that the jury acquitted him of those charges that gave rise to



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restitution and “virtually all” of the forfeiture. (See Petition, at 14.) From there, he argues that

those obligations are unenforceable. (See Petition, at 14.) Daugerdas is again incorrect.

Daugerdas’s convictions for conspiracy to defraud the United States and mail fraud—which gave

rise to Daugerdas’s restitution and forfeiture obligations—were affirmed by the Court of

Appeals. United States v. Daugerdas, 837 F.3d at 231. Moreover, Daugerdas misapplies the

Supreme Court’s holding in Nelson, which applies only to convictions that are reversed or

vacated. See Nelson, 137 S. Ct. at 1255.

                                          CONCLUSION

               For the foregoing reasons, Daugerdas’s petition for a writ of audita querela is

denied. The Clerk of Court is directed to terminate the motion pending at ECF No. 933.

Chambers staff will mail a copy of this Memorandum & Order to Daugerdas.


Dated: February 22, 2021
       New York, New York




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